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UNITED STATES DISTRICT COURT on a on
fi SOUTHERN DISTRICT OF FLORIDA SEP 03 2024
' ANGELA E. NOBLE
! CLERK U.S. DIST. CT.
|__s.D.OFFLA,-FrBIERCE
Case No. 9:24-cv-80920-AMC
JEFFREY BUONGIORNO,

SECOND AMENDED COMPLAINT

Plaintiff,

Me 1. Violation of 42 U.S. § 1983

(Civil Action For Deprivation of

ALEJANDRO MAYORKAS, in his :
Rights)

official capacity as the Secretary of the
United States Department of Homeland .
Security; 2. Conspiracy (common law)
MARTIN O’MALLEY in his official
capacity as the Commissioner of the _ 3. Negligence
Social Security Administration;
JAMES CORD BYRD, in his official 4. Violation of The First Amendment
capacity as the Secretary of State of
Florida;

MARIA MATTHEWS in her official
capacity as the Director of Division of
Elections (a division within the Florida

Department at Stale); EXPEDITED HEARING

ASHLEY MOODY in her official REQUESTED
capacity as the Florida Attorney General

and a member of the State Elections
Canvassing Committee;

DAVE KERNER in his official capacity
as the Chief Administrator of the Florida
Department of Highway Safety and
Motor Vehicles

GREG WEISS in his official capacity as
the Palm Beach County, Florida
Commissioner for District 2;

MARIA MARINO in her official
capacity as the Palm Beach County,
Florida Commissioner for District 1;
WENDY SARTORY LINK, in her
official capacity as Palm Beach County
Supervisor of Elections;

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(defendants continued on next page),

(defendants list continued...)

RIC BRADSHAW in his official capacity
as the Palm Beach County, Florida Sheriff;
MI FAMILIA VOTA, a non-profit
business entity;

Defendants

Plaintiff, pursuant to Rule 3 of the Federal Rules of Civil Procedure, files the
following Second Amended Complaint against Defendants. Plaintiff seeks declaratory and

injunctive relief to prevent election fraud in the upcoming November 2024 elections.

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Proceedings of this Case

1. The original Complaint (ECF 1) was filed on July 30, 2024;

2. An Order (ECF 9) on July 31 urged all defendants to file a joint Response;

3. An Amended Complaint (ECF 17) was filed on August 19" adding a First
Amendment violation Count and the Palm Beach County Sheriff as a defendant;

4, An Order (ECF 39) on August 23" dismissed the Amended Complaint with leave to
refile to correct “shotgun pleading” deficiencies;

5. All Defendants have been served;

6. This Second Amended Complaint (“SSAC”) (ECF xxxxx) was filed on September
3", 2024; It corrected the “shotgun pleading” by, (a) reducing the number or counts to
four, (b) removing the first Count that involved U.S. criminal code, (c) removing some
defendants, and (d) referring to the facts of the case by specific paragraph number in each

Count, with each Count independent of the other Counts.

Request for Expedited Hearing

7, This SAC seeks to prevent irreparable harm to Plaintiff (and the nation) before the
November 5", 2024 elections. That is only weeks from now.

8. Crucial steps of the early voting process begin on October 5 with this mailing out of
ballots. That is approximately only 30-days from now. This SAC seeks to enjoin those
actions from occurring under the current tainted system that, either inadvertently or by
design includes non-citizen voters.

9. Normal briefing would allow the federal defendants 60-days to respond and the
others to have 21-days. Plaintiff requests an expedited hearing 14-days from now for all

parties. All Defendants have been served.

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Introduction

10. Federal law states that it is unlawful for a noncitizen to vote in federal elections. It
is criminal violation for non-citizens to vote in federal elections. (18 U.S. Code § 611 -
Voting by aliens).
11. Federal law also forbids anyone from knowingly making any false statement they
are a citizen of the United States in order to register or vote in any Federal, State, or local
election (18 U.S. Code §1015-Naturalization, citizenship or alien registry ).
12. Florida State law also prohibits voting by noncitizens.
13. On November 3, 2020, Floridians supported a ballot measure known as the “Citizens
Requirement for Voting,” initiative by a margin of 79.29 percent codifying that only citizens
can vote. Florida Statute 97.041, Section (1) (a) details the requirements to register or vote:

1. Isat least 18 years of age;

2. Isacitizen of the United States;

3. Isa legal resident of the State of Florida;

4. Isa legal resident of the county in which that person seeks to be

registered; and

5. Registers pursuant to the Florida Election Code.
14. Moreover, the Florida State Constitution (Article 6 Section 2) states, “Electors. —
Only a citizen of the United States who is at least eighteen years of age and who is a
permanent resident of the state, if registered as provided by law, shall be an elector of the
county where registered.”
15. The Second Amended Complaint is an action seeking declaratory and injunctive
relief to address the upcoming November, 2024 elections by registering non-citizens and
synthetic identities as voters, thereby unlawfully obtaining Vote-By-Mail ballots (VBMs)
and undermining the integrity of the election process.

16. |The Second Amended Complaint is an action seeking declaratory and injunctive

relief to enforce public records request.

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Parties

Plaintiff Jeffrey Buongiorno (Plaintiff and Palm Beach County Candidate)

17. ‘Plaintiff, Jeffrey Buongiorno, is a U.S. citizen and domiciled in Palm Beach
County, Florida. He is the Republican candidate for Supervisor of Elections in Palm Beach
County. As a candidate and a citizen Plaintiff Buongiorno has standing to bring this action.

Alejandro Mayorkas (Secretary of Homeland Security)

18. Defendant Alejandro Mayorkas, a United States citizen, is the Secretary of The
Department of Homeland Security (“DHS”), which oversees border security and the
processing of illegal aliens.

19. He has been charged with “high crimes” (dereliction of duty by failing to enforce the
border ) and impeached by the U.S. House of Representatives.

Martin O’Malley (Commissioner of the Social Security Admistration)

20, Defendant Martin O'Malley, a U.S. citizen, is the Commissioner of the Social

Security Administration (SSA).. As the Commissioner of the SSA,

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1 66 Million views https://x.com/EndWokeness/status/1775229804356178419
2.4 Million views https://x.com/Bubblebathgirl/status/177524 1038812029408 and many other examples
3 https://rumble.com/v59 Irwl-mi-familia-vota-palm-beach-july-2024.html (X.com recently made Plaintiff
delete this video, likely at the orders from DHS)
4 Gateway Pundit https://www.thegatewaypundit.com/2024/04/extremely-concerning-record-shows-voter-
registration-without-photo/

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O'Malley is responsible for administering the Social Security retirement, disability, and
survivors insurance programs, as well as the Supplemental Security Income program.

O’Malley bears the ultimate responsibility and control of the agency.

James Cord Byrd (Florida Secretary of State)

21. Defendant Cord Byrd, a U.S. citizen domiciled in Florida, is the Secretary of State

for Florida. Byrd is the Chief Elections Officer

Maria Matthews (Director of Florida Elections)

22. Defendant Maria Matthews, a U.S. citizen domiciled in Florida, is the Director of
the Florida Division of Elections, which is division of the Florida Department of State.
\

Matthews is responsible for voter registration, election security, and the implementation of

state election laws.

Ashley Moody (Florida Attorney General)

23. Defendant Ashley Moody, a U.S. citizen domiciled in Florida, is the Attorney
General of Florida. Moody recently joined with a group of 24 State AG’s to file amicus
briefs to the Supreme Court supporting Arizona’s right to require proof of citizenship to
vote. Moody is responsible for enforcing state law and providing legal opinions.

24. | AG Moody is also appointed by Governor DeSantis as a member of the Florida State
Elections Canvassing Committee.

Dave Kerner (Director of the Florida DMV)

25. Defendant David “Dave” Kerner is domiciled in Florda and an American Citizen.

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. He is the Director of the Florida Highway Safety and Motor Vehicles (““DMV”)and,
“statutorily responsible for the day to day operation, direction, and management of the
Department and all component Divisions and Offices. These Divisions and Offices include
the Florida Highway Patrol, the Office of Inspector General, Division of Motorist Services,
Division of Information Services Administration, Office of the Chief of Staff, Office of
General Counsel, Office of Communications, Office of Legislative Affairs, and the Division
of Administrative Services.” °

26. Mr. Kerner’s DMV issues driver’s licenses to non-citizens, which is an integral step

in the allegations in this complaint relating to voter registration on non-citizens.

Grege Weiss (Palm Beach County Canvassing Board)

27. Defendant Gregg Weiss, a U.S. citizen domiciled in Florida, is a Palm Beach County
Commissioner for District 2. He also currently serves as the Vice Mayor of Palm Beach
County. Before his tenure as commissioner, Weiss was involved in various local
organizations and held roles as Vice Chair of the West Palm Beach Planning Board and
President of the West Palm Beach Police Foundation.

28. Weiss is a member of the Palm Beach County Election Canvassing Board and
responsible for certifying elections.

Maria Marino (Palm Beach County Canvassing Board)

29. Defendant Maria Marino, a U.S. citizen domiciled in Florida, is a significant public

5 https://www.flhsmv.gov/about/about-the-director/

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figure in Palm Beach County currently serving as the Vice Mayor. She was elected to the
Palm Beach County Commission in November 2020. Marino is a member of the Palm

Beach County Election Canvassing Board and responsible for certifying elections.

Wendy Sartory-Link (Palm Beach County Supervisor of Elections)
30. Defendant Wendy Sartory-Link, a U.S. citizen domiciled in Florida, is the

Supervisor of Elections for Palm Beach County overseeing the administration of elections
and ensuring the integrity of the electoral process. Link is an attorney and responsible for the
oversight of lawful elections, including lawful voter registrations.

Ric Bradshaw (Palm Beach County Sheriff)

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31. Defendant Ric Bradshaw isa U.S. citizen domiciled in Florida, serves as the Sheriff
for Palm Beach County, Florida. He is seeking a sixth term in the 2024 election cycle.
Bradshaw is the top Law Enforcement Officer in the county. As a constitutional sheriff, his
job is to the protect citizen’

Mi Familia Vota (an NGO)

32. Defendant Mi Familia Vota is a 501 (C4) non-profit entity, or “NGO”, that operates
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throughout the nation, including Palm Beach County, Florida, inter alia, to register Spanish-

speaking people to vote. Mi Familia Vota has stated on video that it does not care whether

or not a person being registered is an eligible U.S. citizen.

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Jurisdiction and Venue

33. The United States District Court for the Southern District of Florida has subject
matter jurisdiction over this action pursuant to 42 U.S.C. § 1983 (2021)- Civil action for
deprivation of rights, 18 U.S. Code § 611, U.S.C. § 20507, and 18 US Code § 1015.

34, Venue is proper in this Court pursuant to Title 18 U.S.C. §§ 1391(b)(1) and (b)(2).
A substantial part of the events or omissions giving rise to the claims in this action occurred
in the Southern District of Florida. Specifically, as to Plaintiff Buongiorno, he is the
Republican Nominee for Supervisor of Elections in Palm Beach County. All of the
prospective votes to be cast in the November election both for him and against him will be

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cast and counted in Palm Beach County, within the jurisdiction of this honorable court.

Facts of the Case:

Mass Influx of Non-Citizens into the United States and Florida

35. Since taking office Joe Biden has implemented over 60 Executive Orders regarding
immigration of Non-Citizens which Executive Orders, as recounted by many have
promoted a mass border invasion of millions of Non-Citizens in the United States and

Florida.

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36. “There is an ongoing crisis at the southern border. In the first 7 months of this fiscal
year alone, the Border Patrol “encountered” 1.3 million people trying to enter illegally, up
nearly 440,000 over last year’s near record-setting pace over the same time period.
1
Unsurprisingly, the total number of illegal immigrants living in the U.S. has risen
dramatically as well” °
37. “Border Patrol agents in California have been told to release migrants from over 100
countries into the US, despite the Biden administration’s new border ‘crackdown’, according
to a leaked memo obtained by The Post. Migrants from all but six countries in what border
patrol calls the ‘eastern hemisphere’ — made up of Africa, Asia, Australia, and Europe — who
cross illegally into the San Diego border sector will be released into the US according to the
memo, first reported by the Washington Examiner.”
38. | The United States House of Representatives squarely blames defendant Mayorkas
for this invasion. “Since taking over at DHS, Secretary Mayorkas has refused to be honest
with the American people and with Congress about the causes and consequences his open-
borders policies have created,” Chairman Green said. “Then-Chief Ortiz was willing to do
what the secretary still refuses to—tell the truth. Because of these interviews and first-hand
accounts from these current and former chief patrol agents, we have proof that Secretary
Mayorkas lacks operational control of the Southwest border. It is time for Congress to hold
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him accountable via the impeachment process.”

39. The United States House of Representatives impeached Mayorkas for willfully
ignoring the law in these matters.

Illegal Aliens Crossing the Border Are Issued Federal ID Numbers

i

6 https://cis.org/Oped/America-has-lost-control-its-borders

q https://nypost.com/2024/06/09/us-news/border-patrol-memo-instructs-agents-to-release-migrants-from-
nearly-all-eastern-hemisphere-countries/

8 https://homeland.house.gov/2024/01/03/chief-patrol-agents-confirm-lack-of-operational-control-in-their-
southwest-border-sectors/

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40. Central to this Second Amended Complaint is the fact that nearly every illegal alien
encountered at the border is now being granted parole while awaiting an immigration
judge's hearing on alleged claims of asylum. In most cases, these hearings are scheduled
for five to ten years into the future. In the meantime, while waiting the five to ten years,

asylum seeking parolees are allowed to work in the U.S., and they are being issued Social

Security Numbers (“SSN”).

41. Central to this Second Amended Complaint, the asylum-seeking illegal alien
parolees are being issued Social Security Numbers (“SSN”), ostensibly for the
purpose of being allowed to work. However, the SSN’s issued are also wrongfully
‘being used to allow the asylum-seeking illegal alien parolees to register to vote
and/or to allow others to request absentee ballots to be thereafter illegally used to

cast invalid votes for federal and state office candidates.

42. Under previous administrations, parole was rarely granted and only on a case-by-
case basis for urgent humanitarian reasons. Under Defendant Mayorkas’ watch, this
extraordinary measure has become commonplace.

43. The Help America Vote Act (HAVA), includes a provision allowing states to verify
the identity of a voter who lacks a government-issued ID for registration purposes. The
HAVA database permits states to use the last four digits of a person’s Security Number

(SSN”) to confirm it matches both their name and date of birth. However, this

process does not confirm citizenship. Prior to 2021 and before President Biden's

administration, few non-citizens were issued SSNs. Now, under the watch and approval of
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Defendants Mayorkas and O’Malley millions of the asylum seeking illegal alien parolees

are being provided SSNs. Alternatively, asylum-seeking illegal alien parolees are being

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granted SSN’s and Alien Registration Numbers (“ARN”) which contain seven to nine
numbers, the last four digits which can be substituted into Florida voter registration
applications to feign actual Social Security Numbers. This system fosters loopholes to be
exploited so that asylum seeking illegal parolees can first, register to vote, then next without
valid identification request (or have others request) vote by mail absentee ballots and
ultimately, have those absentee vote by mail ballots submitted and comingled with other
valid absentee ballots so that the asylum seeking illegal alien parolees votes go
completely undetected and finally counted as valid votes when they are not valid votes by

any stretch of the imagination.

4
Executive Order 14019

44. Executive Order 14019, signed by President Biden on March 7, 2021, focuses on
promoting access to voting. But as alleged herein works to promote and permit illegal
voting. A summary of its key provisions is as follows:
Policy Statement:
The order emphasizes that it is the policy of the federal government
\ to expand access to voter registration and election information and
to support voter participation and access.
Agency Responsibilities:
Federal agencies are directed to consider ways to expand citizens!
opportunities to register to vote and to participate in the electoral
process.
Agencies are instructed to submit plans outlining how they will
promote voter registration and participation within 200 days of the

order.

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Social Security Numbers Are A Fully and Complete Inadequate Means to
Authenticate United States Citizenship

45. According to a 2010 study by ID Analytics, Inc, over twenty million Americans

have multiple Social Security Numbers (SSN’s). linked to their names in commercial
records. The study also revealed that mor that forty million SSN’s are associated with

multiple individuals. Challenging the notion of SSN’s as a unique identifier

"Our research shows that Social Security numbers, contrary to
popular perception, do not uniquely identify an individual," said Dr.
Stephen Coggeshall, chief technology officer, ID Analytics. "Most
of these cases of duplication are likely due to simple data entry
errors as opposed to deliberate falsification. Nevertheless,
organizations expose themselves and their customers to risk if they
solely rely on the SSN to verify an individual. Furthermore, 6.1
percent of the population had more than one social security number
attributed to their identity."'°

Use of Social Security Numbers and/or Alien Registration Numbers to Invalidly
Register Noncitizens to Vote in Florida

46. The Social Security Administration states:

a “The Help America Vote Act of 2002, P.L. 107-252 (HAVA)
requires states to verify the information.of newly registered voters for federal
elections. Each state must establish a computerized state- wide voter registration list

and verify new voter information with the Motor Vehicle Administration (MVA).”

States are required to verify the driver’s license number against the MVA’s database.
Only in situations where no driver’s license exists may the state verify the last four
digits of the new voter’s Social Security Number (SSN). The state submits the last
four digits of the SSN, name, and date of birth to the MVA for verification with

Social Security Administration. HN

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47. Security Administration (SSA). In addition, SSA is required to report whether its

records indicate that the person is deceased.
1
48. The information submitted through the Help America Vote Verification (HAVV)

system is kept confidential and must be used only for voter registration.”

49, The Help America Vote’s own data shows that in Florida and other states, the use of
SSN’s is an unreliable method of proving or confirming United States citizenship.
Checks of new voter registrations turn up varying results which include non-

‘matches, multiple matches and other irregularities evidencing or tending to prove
asylum-seeking illegal alien parolees (or worse completely fictitious non-existent

persons) have attempted to register to vote in Florida and around the Country.

HAVV Data (HTML View)

Commnecticut 44 $e tet

District of

Columbia

Florida Sin hid et gst

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50. ‘This loophole of allowing a person to become registered to vote without having

a photo ID has been exploited by Defendants. There were 1.3 million

transactions in Florida on SSA.GOV between Jan 2011 through July 2024. The
number of transactions do not include the entire duration, the law allowing this
went into effect in 2003.

51. In the Help America Vote Verification ((HAVV”) system, a “non-match” occurs
when the information submitted for verification does not match any records in the

4
Social Security Administration’s (SSA) database.

52. This means that the combination of the applicant’s name, date of birth, and the last
four digits of their Social Security Number (SSN) does not correspond to any
individual in the SSA’s records. Approximately 30% of the transactions suffer
from defect. The number of “Total Non-Matches” transactions suggests the system

\is allowing large portions of the voter pool to be tainted.

The Florida Department of State’s Office of Election Crimes Report

53. The Florida Department of State’s Office of Election Crimes and Security Report!®

from January 2023 details in official manner numerous elections crimes related to these
schemes of illegal aliens being registered to vote.

54. For example:
‘ “Alfred Samuels, an illegal alien living in Ft Lauderdale, unlawfully
voted by mail under the alias Alford Nelson in two Broward County
special elections, once on January 11, 2022, and again on March 8,

2022. He became a registered Broward County voter in March 2021
13

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using a counterfeit birth certificate from New York City.”

and...

“Tn October 2022, FDLE announced the arrest in Broward County of an individual
referred to law enforcement by the OECS. The defendant is alleged to be an illegal
aliert and a ten-time convicted felon who voted under an alias in the Broward
County, U.S. Congressional District 20 Special Election (Primary and General).
The individual is alleged to have registered to vote using a counterfeit birth
certificate from New York City.”

Criminal Ballot Harvesting is Real
Hackers Leak 2.7 billion Data Records with Social Security Numbers

60. The use of Social Security Numbers as a means for verification of United States
citizenship is further shown as an inadequate means by recent computer security breaches.
In April, an alias going by “USDoD” claimed to be selling 2.9 billion records
containing the personal data of people in the US, UK, and Canada that were stolen from

national public data.

61. In April, an alias going by “USDoD” claimed to be selling 2.9 billion records

containing the personal data of people in the US, UK, and Canada that were stolen from
1

15 https://yournews.com/2024/07/25/2823 172/crime-alert-illegal-alien-murderer-registered-to-vote-in-florida
16 https://files.floridados.gov/media/706232/dos-oecs-report-2022.pdf

14

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National Public Data.
62. | USDoD is a known threat actor who was previously linked to an attempted sale of
InfraGard's user database in December 2023 for $50,000.'8
63. ‘At the time, the USDoD attempted to sell the data for $3.5 million!? and claimed it
contained records for every person in the three countries.

Reports on Non-Citizens on Voting Rolls

64. Republicans issued a recent study”® estimating that 10% to 27% of noncitizens are
illegally registered to vote, and 5% to 13% will illegally vote in 2024 — a potentially massive
number given the illegal alien portion of the noncitizen population”! alone is well over 10
million.

4
65. A report consolidated various other reports of this nature detailing the actual

numbers on non-citizens registered to vote.

A Federal Ruling that Promotes Election Interference by Illegal Aliens

66. A federal judge ruled against a Florida law that sought to prohibit noncitizens from
participating in voter registration activities. The decision, made by Chief U.S. District Judge
Mark E. Walker of the Northern District of Florida, strikes down a provision in Florida's SB
7050, Which imposed a $50,000 fine on noncitizens found collecting or handling voter
registration applications. The law was deemed to violate constitutional equal protection
rights, as it discriminated based on citizenship status without a compelling state interest.

67. That ruling is significant for the approximately 1.3 million lawful permanent

'8 https://krebsonsecurity.com/2022/12/fbis-vetted-info-sharing-network-infragard-hacked/
'9 https://x.com/H4ckManace/status/17772463 10782902686
20 https/www.justfacts.com/news_non-citizen_voter_registration
21 hitps://www.pewresearch.org/short-reads/2024/07/22/what-we-know-about-unauthorized-immigrants-
living-in-the-us/
2 hitps://www.realclearinvestigations.com/articles/2024/08/14/vote_integritys_nitty-
gritty_the battle lines of 24s epic_struggle_1051309.html
16

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residents in Florida who often engage in civic activities as part of their journey towards U.S.
citizenship.

68. The law had already been temporarily blocked by an emergency injunction issued
last year, allowing voter registration groups to continue their activities without the
restriction.” The permanent injunction now prevents the Florida Secretary of State from
enforcing the provision, ensuring that noncitizens can continue to assist with voter

registration efforts.

Impossible to Verify Identities of Many Migrants

69. News reporting’* and members of Congress” visiting the border have detailed how
migrants leave all traces of their citizenship on the Mexico side of the border.” Therefore,
no Us. authority issuing a SSN or ARN to a migrant can possibly verify citizenship status.
70. Plaintiff filmed on July 8", 2024 the NGO called “Mi Familia Vota” (a defendant
here) at the Palm Beach County DMV registering Spanish-speaking people to vote without
asking for proof of citizenship.?” That DMV location is a main administration building

where property owners pay taxes, etc. This was occurring in broad daylight under the noses

of Palm Beach County officials. It was clearly condoned by Defendants.

‘ Supervisor of Elections Website Reporting Glitches

71. On August 20", 2024 were the Florida primary elections. As Plaintiff warned and

predicted, the same irregularities that have plagues numerous prior elections occurred.

72. Defendant Link and Byrd turn a blind eye to the recurring reporting night outages
primary in the 2016 General Election, the 2022 Primary and again in the 2024 primary just
last month., promoting narratives that are proven by the vendor VR Systems who has

refused to answer Public Records Requests.

17

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?3 Hispanic Federation v. Cord Byrd 4:23-cv-00218-A W-MAF

24 https://www.cbsnews.com/news/immigration-migrants-documents-confiscated-border-officials/

25 https://www.azcentral.com/story/news/politics/border-issues/2022/08/17/migrants-u-s-mexico-border-
near-yuma-forced-discard-belongings/10159126002/

26 https://amp.theguardian.com/us-news/2022/may/08/us-mexico-border-agents-belongings

27 https://rumble.com/v59 Irwl-mi-familia-vota-palm-beach-july-2024.htm|
https://x*com/EndWokeness/status/1 81065 1470389301655 (video censored by X)

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Election Night Vote Reporting “Glitches”

73. On the evening of election night, August 20", 2024, there were reports of website
outages that affected the ability of the public to access election results. These outages
primarjly affected official state and county election websites (http://votepalmbeach.gov),
which are relied upon to provide real-time updates.

74. Defendants Byrd, Moody, and Link appeared on television during the website
outages to give vague comments about the outages. None of them took personal
responsibility.”

75. These were not innocent website outages that caused no damage. Plaintiff has
evidence that crucial details about the number and types of mail-in ballots disappeared from
the websites after the sites began functioning again. It is beyond the scope of this SAC, but
Plaintiff alleges a massive fraud conspiracy by Defendants (and others across Florida) to
comingle large numbers of fraudulent ballots with the much smaller number of legitimate
early vote ballots. This is how incumbents stay in power, Plaintiff alleges. The same pattern
of website outages has occurred in 2022 when Plaintiff was a candidate.

Negligence: Cybersecurity Concerns Were Ignored

76. The election reporting outages on August 20" were preventable, Plaintiff alleges.
They occurred in 2022 and the Palm Beach County Defendants were warned ahead of this
most recent election by Plaintiff and others.

77. In the lead-up to the elections, Plaintiff became aware of the potential for
cyberattacks on election infrastructure. Other computer specialists in Plaintiff's network
also raised concerns on August 9, 2024 that the Palm Beach County voting website

(http://votepalmbeach.gov), and the “VR Systems” that powers it (http://vrsystems.com),
i

28 https://www.yahoo.com/news/voting-goes-smoothly-issuing-results-233414172.html
19

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were redirecting content to other URL like (http://Iscan.io), which is a hub for election fraud
tools. ”?

78. Plaintiff alerted via text messages his Florida House Representative, Mike Caruso,
of these security breaches. Mr. Caruso is in regular contact with Defendant Link. To
Plaintiff's knowledge, nothing was done by Defendants to prevent to outages that occurred
on August 20".

79. In a Palm Beach Post newspaper interview, Defendants Byrd and Link pointed
fingers of blame at one another while claiming to not know what caused the outages.

80. “In a press briefing Tuesday evening, Florida Secretary of State Cord Byrd made
clear there were no problems with the data or vote tallies being transmitted to the Department
of State. He said it was a county-level issue, and there was "no evidence at this juncture"
that the technical difficulties were because of a cyber attack...Palm Beach County Supervisor
of Elections Wendy Sartory Link said she would talk with her office’s information
technology staff to determine what the next step is in the county’s relationship with VR
Systems. “I don’t want anything like this to happen again, ever, especially not a during a
general election," she said.” °°

81. Those comments are evidence of negligence. An important duty of the Secretary of
State and the county Supervisor of Elections is to produce election night results in a timely
fashion. Not only have Byrd and Link (as well as Moody) failed miserably at that
responsibility over many election cycles, they show no willingness to accept responsibility

for the pattern of election night results failure. They pretend to not know what happened.

29 https://x.com/DecentBackup/status/1822023390443569340
30 https:4www.palmbeachpost.com/story/news/2024 /08/22/vr-systems-florida-full-responsibility-for-
elections-sites-crash/74907055007/

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82. Defendants blame the vendor “VR Systems” for all of their problems. That
plausible deniably excuse might work one time, but it fails after repeated episodes over
many years. VR Systems is required to answer Public Records Request under state law, yet

the refuse to do so.

83. All defendants acted with reckless disregard and breached their duty of care when
they certified the August 2024 election. It is implausible that they failed to recognize the
clear pattern of reporting failures by VR Systems and the issues with the election night

results domain "Electionsfl.org."

84. Defendant Byrd, Moody, Marino, Weiss, and Link certified an election that was
not certifiable. With known cyber breaches to the VR front end, an exhaustive cyber

8
forensics investigation was warranted before certification of the 2024 Primary.

85. Prior to the August 2024 primary, 191,000 mail-in ballots were issued by a third-
party vendor, VR Systems, which administers Florida's voter rolls. Of these, 352 ballots
were mailed to U.S. addresses that are not recognized by the USPS. This well above the
generally accepted sixth sigma standards which tolerate 3.4 errors per 1 million
transactions.

Negligence and altered public records

86. On March 14, 2023, during the public comment period, the Plaintiff presented
evidence to the Palm Beach County Commissioners. Defendants Weiss and Marino, who
are also members of the Canvassing Board, were present at the meeting. The Plaintiff
highlighted vulnerabilities in election computer systems used in other voting jurisdictions,

which are identical to the systems utilized by Palm Beach County for its elections.

87. ‘Notably, the Plaintiff highlighted a malicious technique known as system Time

Stomping and explained how it had been discovered on systems identical to those used by
21
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Palm Beach County. Time Stomping involves overwriting legitimate system timestamps to
disguise the actual time that system events are recorded in log files. Accurate system log

files are essential for conducting precise forensic audits.

88. on May 1, 2023, Public Request #23-92 was released to the requester by the Palm
Beach County Supervisor of Elections office. The documents returned where election
reports EL45A, which revealed the number of Blank Ballots recorded in the August 2022
primary.

89. Notably, the “Official” EL45A report, for the August, 2022 primary election had a
run date or created on date of 9/13/1984 and time of 4:23 AM. The people never received a
coherent response from Supervisor Link’s office as to how this anomaly occurred. This is

1
evidence of an unreliable computer system plagued with “Time Stomping.”

90. Suspiciously, days later, a new teart was made available on the public request
portal. The report was clearly fabricated. The date of the report was updated to the current
date. The report lacked an official system generated “Hash Tag.” Hash Tags prove
authenticity of a system generated report and can be traced to important system log files to

prove authenticity. The Palm Beach County Supervisor’s office altered the official EL 45.

91. ‘The plaintiff warned all Palm Beach County Commissioners, including Defendants
Weiss and Marino of Time Stomping on the county’s election computer system. The

Defendants failure to take action constitutes reckless disregard of care of duty.

92. Defendant Links’ office clearly altered an official public request and is a violation

of public trust and a violation of FS 838.022 (1) (a)
93. Defendants Weiss, Marino and Link conspired to conceal this information from the
publica

Defendants Routinely Violate the First Amendment
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94. On August 9", 2024, after this Complaint was filed and attempts at serving the Palm

Beach County Defendants were made, Plaintiff attended the scheduled public meeting of the
Palm Beach County Canvassing Board. Sitting on the board were Defendants Link, Weiss,
former defendants Bristow, among others.>!

95. * Approximately 45-minutes into the meeting, Defendant Link asked a Palm Beach
County Sheriff Deputy to remove Plaintiff from the meeting for no legitimate reason.
Plaintiff was sitting in his chair and writing in a notebook, literally minding his own

business. Plaintiff had not been disruptive in any way. The incident was filmed by several

people.*?

96. These Palm Beach County Canvassing Board meetings are not normal public

31 It is difficult to see past the bullet proof glass that separates the public from the canvassing board at these
meetings.
32 https://rumble.com/v5b75dv-buongiorno-ejected-from-open-palm-beach-county-canvassing.htm!

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meetings of government. For unknown reasons, the canvassing board sits in a room isolated
from the public by bulletproof glass. The public attendees speak through microphones
hanging from the ceiling. The facility is adjacent to Sheriff Annex station. Therefore,
Defendants cannot plausibly claim that Plaintiff was being physically threatening.
1

97. This August 9" incident was part of a pattern by Defendants of targeting Plaintiff
(and others) at these meetings. On June a, 2024, a similar incident occurred. On that day,
first a citizen named William Voltmer had his mic abruptly cut off immediately when he
stated, “My topic today is voting by non-citizens...”.°? Then, Plaintiff spoke about that topic
and the County Commissioners had him escorted out by the Palm Beach Sheriff.

98. This pattern of Defendants targeting Plaintiff continued on August 14"", 2024 when
Plaintiff was denied entry into the canvassing board meeting by a Palm Beach County
Sheriff Deputy named “K. Moss”. A Palm Beach County employee named Allison Nova
made the request of the deputy and also told Plaintiff he had to leave. It is unlawful to deny

citizens access to public meetings!. Defendant Link, Weiss and Marino conspired with the

Palm Beach County Sheriffs Department to perpetuate a crime The incident was recorded. *4

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99. Promptly on August 14th, 2024, Plaintiff made a Public Records Request #24-821,

for the audio tape of the August 9", 2024 canvassing board meeting. The request was denied
and closed within five-minutes with an email response, “There are no documents responsive
to your request.”

100. The events of August 9" and August 14" were preceded by a contentious exchange

on July 1‘, 2024 during a public pre-canvassing board meeting between Plaintiff, Defendant

y

' https://m.flsenate.gov/Statutes/286.011 Section (1).

24
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Link, and former defendant Lauren Burke. Former defendant April Bristow had proposed a
change to reporting guidelines that would obfuscate the reporting of “blank ballots” in the

2024 election. In the 2022 election, there were over 800,000 ballots reported as being blank.

33 httpsy/miamiindependent.com/constitutional-crisis/
34 https://rumble.com/v5b6zs | -pbc-supervisor-of-elections-denied-access-to-public-meeting.htm|

25
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101. Plaintiff alleges that the motive behind the canvassing board violating Plaintiff's free
speech on August 9" and 14'" was connected to the pre-canvassing meeting held on July 1,
2024. Plaintiff questioned Defendant Link on proposed rules changes that were set to be
codified on August 9", 2024.35

102. “At these Palm Beach County canvassing board meetings, any public comment
regarding the blank ballots or non-citizen voting is immediately quashed by the board.

Plaintiff has been targeted by Defendants when he “petitions” that local government.

Defendants are also stifling his right to free speech.

103. Lastly, related to First Amendment violations, on August 9", 2024, Defendant Link

blocked Plaintiff's access to her official X.com account.*®

Efforts to Stop Election Fraud

The Supreme Court Ruling on Arizona Election Laws

104. Last week, the Supreme Court ruled in favor of Arizona Republicans allowing
Arizona law (that requires proof of citizenship for voting) to stand .*”

105. “The Arizona law at the center of the dispute is known as H.B. 2492. Enacted in
2022, it directs county officials to attempt to verify the U.S. citizenship of anyone who
attempts to register using the federal form. If the officials cannot do so, the applicant must
submit proof of citizenship (such as a passport or birth certificate) to vote for president or
by mail. In a separate provision, the law also requires anyone who registers using Arizona’s
2938

state form to submit proof of citizenship.

106. That case is relevant to this instant Second Amended Complaint because it requires

35 httpsq//rumble.com/v5bfvia-july- 1-2024-election-board-pre-canvassing-meeting.htm|

36 Video 2:18 mark https://rumble.com/v5b75dv-buongiorno-ejected-from-open-palm-beach-county-
canvassing. html

aT https://www.supremecourt.gov/orders/courtorders/082224zr_n75p.pdf

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38 https://www.scotusblog.com/2024/08/justices-allow-arizona-to-enforce-proof-of-citizenship-law-for-2024-

voter-registration/

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proof of citizenship. Numerous states are recognizing the same existential threat to honest

elections that Plaintiff addresses here.

Floridians Have Been Stonewalled

107. The people of Florida have been stonewalled at every level while redressing our
grievances. Local municipality officials claim they bear no responsibility for any election-
related activity and refer the people ‘to the County Commissioner. The County
Commissioners silence the people when they attempt to redress the issue of Non-Citizen
voting. Palm Beach County Sheriff have recently removed members of the public speaking
during their allotted time if they mentioned illegal aliens being registered as voters, clearly

violating the First Amendment in Orwellian fashion. °*?

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108. VR Systems Inc., a state contractor responsible for key voting functions such as

processing Vote By Mail requests and managing election night reporting, asserts that it is
exempt from responding to Public Records Requests violations. This is a violation of

statute 119.01.

109. Defendants Link, Weiss and Marino conspired to withhold critical election night
reporting. Up until the 2024 primary, the state reported the total number of blank ballots

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cast. This was done by edict and without informing the public.

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The New Palm Beach County Voting Tabulation Center

110. Citizens of Palm Beach County petitioned the government for over three-years
asking commissioners to decentralize the vote tabulation process and return the counting to
the local precincts. Instead, in defiance and hubris, the commissioners approved a new Palm
Beach ‘County voting tabulation center (complete with multiple warehouse bay doors and
bulletproof glass, annexed to a Palm Beach County Sheriff station). This new facility defies
the will of the people.

Florida Ballot Measure: Amendment 1- Nov. 3"! 2020

111. In 2020, a ballot initiative stated:

“A "yes" vote supports amending the Florida Constitution to
state that “only a citizen” of the U.S. who is 18 years old or
older can vote in Florida.

A "no" vote opposes amending the Florida Constitution, thus
keeping the existing language that says “every citizen” of the
U.S. who is 18 years old or older can vote in Florida’*°

39 Video June 4 PBCC Public Comment meeting Plaintiff ejected https://rumble.com/vSbfrgt-palm-beach-
county-commissioners-meeting-june-4th-dont-say-illegals.html
40 https://ballotpedia.org/Florida_Amendment_1, Citizen _Requirement_for Voting Initiative (2020)

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112. It was approved by 80% of voters. The American citizens of the State of Florida

spoke loudly on the issue. Non-citizens should not be allowed to vote.

Failed Efforts to Stop Election Fraud

113. Secretary Byrd testimonial on December 7" 2023, at the Florida House Ethics,
Elections and Open Government Meeting perpetuated a false narrative. Guided by
questioning from Rep. Chase Tramont, Tramont asserts that Non-Citizen voting is “not very
widespread,” during his questioning. Defendant Byrd responded (paraphrased) that his
hands are tied until there is a Federal partnership with state government, and there is very
little he can do. This is contrary to a memo dated August 16", 2012 released by the Florida
Department of State entitled, “U.S. Department of Homeland Security Agrees to Terms with
.,} . ws
Florida Department of State Over Legal Status Checks of Potential Non-Citizen Voters”.
114. Defendant Byrd has ignored “8 U.S. Code § 1644 - Communication between State
and local government agencies and Immigration and Naturalization Service”:
‘Notwithstanding any other provision of Federal, State, or local law,
no State or local government entity may be prohibited, or in any way
restricted, from sending to or receiving from the Immigration and
Naturalization Service information regarding the immigration
status, lawful or unlawful, of an alien in the United States.’
115. Florida also signed a comprehensive Memorandum of Understanding with DHS,

USS. Citizenship and Immigration Service on August 14", 2012.

116. The document was signed by Defendant Maria Matthews.

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The undersigned represent that they are authorized to enter into this MOA on behalf of
DHS-USCIS and the User Agency, respectively.

Johpf. Roessler ~ tthews, Esq.

, Chie, SAVE Program Chief, Bureau of Voter
U.S. Citizenship and Immigration Services Registration Services
Department of Homeland Security Florida Department of State
17 Avs Z012— t# flag bite
Date Dat

117. Although Defendants Moody and Byrd are Republicans, Plaintiff believes that both
major political parties benefit from policies that allow them to place their thumbs on the
scale of democracy. As a candidate not benefitting from these conspiracies, he has faced
unfair Uisadvantages in his campaigns."!

Plaintiff’s Letters to Defendants Byrd and Moody

118. Plaintiff has petitioned the Governor, the State Attorney General and Secretary of

State on election-related issues to no avail.

Incidents Likely to Occur in the Future

119. Federal laws will likely be violated in the upcoming November 2024 elections. That
will violate the constitutionally protected Plaintiff's rights and defy Florida law. They will
do this in various ways.

The Improper Certification of Elections by Palm Beach County and the State

120. The August 20", 2024 primary elections detailed above should not have been

certified by Palm Beach County and the State of Florida because the chain of custody for

“! Related, a lawsuit was filed in Arizona against the Secretary of State after 1.3 million non-citizens were
found to be registered. https://www.thegatewaypundit.com/wp-content/uploads/2024/06/az-nvra-complaint-
filed-5-3 1-24.pdf

~ 31
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ballots was lost when the vote-reporting systems and website went dark for several hours.
Crucial details on the types of ballots were lost. Plaintiff and others believe this is how
Defendants obfuscate their crimes (i.e., by comingling fraudulent ballots with legitimate
ballots).

121. ‘Despite those concerns, the Palm Beach County Defendants conspired to certify the
election results. Then, Defendant Byrd certified the entire election as Secretary of State.

NGO’s Doing the Groundwork

122. There are currently over 1,427 NGO’s acting as voter registration organizations
registered in the state of Florida.’” Many are funded by dark money through PACs and the
registered agents. In some cases, these NGO’s might be foreign non-profit entities with
senmpe nar to the local political committees. An extended voting period allows an unfair
advantage to well-funded NGO’s with pre-organized ground games, who morph from Voter

Registration Organizations to well-organized ballot harvesting organizations.

Negligence of Mayorkas and O’ Malley with Handling of SSN Data

123. With the loss of control at the border has also come the procedure of issuing Alien
Registration Numbers (“ARN”), which resemble SSN’s, to illegal aliens. Identity theft of
real SSN is also common. This month, so-called “hackers” stole every single SSN.%

Therefore, any voter-registration process that accepts only a “Last-Four” of a SSN or ARN

without a Photo ID is egregiously prone to fraud. This is at the heart of the lawsuit seeking

injunctive relief.
124. Defendant Mayorkas controls the Southern Border and the processing of migrants

crossing it. Defendant O’Malley controls all things related to SSN and ARN. The two men

42 https://jaxtoday.org/2024/04/30/voter-registration-groups-scale-back-after-new-restrictions/
43 https://www. latimes.com/business/story/2024-08-13/hacker-claims-theft-of-every-american-social-
security-number

* 32
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have likely conspired to make it easy for SSN or ARN to be used, without any proof of
citizenship, and tools to become registered voters requesting mail-in ballots.

125. Ofnote, to provide armed support for these alleged crimes, The U.S. Department of
Justice announced" that it sent federal agents to provide backup to the bad actors at polling
station\under the pretext of protecting civil rights. It was conducted by personnel from the
Civil Rights Division and U.S. Attorneys’ Offices. The DOJ plans to repeat those efforts in
November.

126. If Mayorkas and O’Malley are not intentionally conspiring to rig the elections, then
they are certainly grossly negligent at their jobs. As detailed in the lawsuit, Plaintiff and
many others have made it public knowledge that there is an extreme breach in security. In
fact, Mayorkas has already been impeached by The U.S. House of Representatives for this

3
willful negligence.

Proof of Large Increases in Voter Registrations Only in Swing States

127. The volume of transactions recorded on the social security administration portal
(HAVV)* are highly suspicious.*° The entire premise of the reporting and need for this type
of system is to ensure that a person being registered to vote is not deceased. Between 2011
and July 2024, there have been 1,254,104 transactions totaling in 315 records of deceased
voters.’ By design, the HAVV opens the doors for synthetic, unverifiable identities to be
injected into our Social Security System and our voting rolls.

128. It is likely that this process, when leveraged with well-organized NGO’s who act as
the voter registration centers, will influence the 2024 General Election in 70-days. The non-

citizen voters allowed to be converted into legitimate registered voters by using only the

44 https://www. justice. gov/opa/pr/justice-department-monitor-polls-24-states-compliance-federal-voting-
rights-laws
45 https://www.ssa.gov/open/havv/
46 https://x.com/annvandersteel/status/ 1827666 184960868627
- 33

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last-four digits of a number issued by DHS and SSA will receive a mail-in ballot (There is
the potential under Florida Statute, for one identity to request up to three “Vote by Mail”
(VBM) ballots through county and state web portals). This will allow the legitimate-citizen

voter ranks to be diluted.

Ballot Harvesting

129. While ballot harvesting is illegal-in Florida and many states, there is no clear
definition of the law. The Florida statute allows for the collection of ballots from family
members with no maximum ballot count.

130. For example, the “Red Belly Road Glitch’*” demonstrates how thousands of ballots
can be sent to a fictitious address. The voter registrations that mapped to the fictitious

address disappeared from the voter database, yet the votes were counted.
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Gurski's Journal

The “Red Belly Rd" Mystery

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Voter Name & Address Sombre vdentese cat

| Red Belly Ra
| Clermont FL 34711 Siew city |

or heen |

| Voter Date ot Beth

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Clermont Cry Cent ao c

| chy Center
| 620 W Montrose St, Clermont
| Precinct Number ts x0n ds Revd

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Issur Date | Registration Number

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131. With the border invasion orchestrated by Defendant Mayorkas and his DHS, the

DHS-assigned SSN’s or ARN’s, and NGO’s registering the illegal aliens to become voters,

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47 https://krisjurski.substack.com/p/the-red-belly-rd-mystery
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there is a likelihood that local election officials will perjure themselves by certifying the
election given that the officials do not have direct evidence that each vote counted was cast
be a U.S. citizen or even a resident of the proper county. The end result of this corruption
will be election fraud on a scale never seen before in the nation.

132. Officials pass the buck. Local county officials defer accountability to the state. State
officials defer to federal officials. However, Defendant Mayorkas is the Sectary of DHS and
has been impeached by the U.S. House for "willfully and systematically refusing to comply
with Federal immigration laws" and "breaching the public trust”.

Arizona’s Maricopa County Refusal to Comply with the Law

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Defendants Are Not Immune

133. No defendant in this instant case enjoys legal immunity of any sort. Immunity is not
a defense in complaints seeking injunctive relief, and immunity fails when defendants
willfully or negligently violate the law.

134. ,The Eleventh Amendment to the U.S. Constitution is the basis for various immunity
doctrines used by government defendants. However, The Supreme Court’s decision in Ex
Parte Young, 209 U.S. 123 (1908) has been interpreted for more than 100-years to mean that
sovereign immunity does not prevent people harmed by state agencies acting in violation of
federal law from suing the officials in charge of the agencies in their individual capacity for

injunctive relief. In this instant case, that is what Plaintiff is alleging and doing.*°

135. Inaddition, ifa defendant willfully or negligently violates law, then they are stripped
of immmneiiy, As mentioned, Defendant Mayorkas has already been impeached by the U.S.
House of Representatives for “WILLFUL AND SYSTEMIC REFUSAL TO COMPLY
WITH THE LAW” regarding the invasion at the Southern Border.*!

136. The other defendants are clearly negligent. They all have official jobs related to

49 https://azfreenews.com/2024/07/maricopa-county-recorder-rebuffs-legal-request-to-clean-foreign-citizens-
off-voter-rolls/

>° The State of Florida also recently modified the law that grants immunity as a defense. Florida Statute 768.28
“Waiver of sovereign immunity in tort actions” is now more lenient to plaintiffs claiming monetary damages.
However, it is moot given the Ex Parte Young doctrine above.

SIhttps://www.congress.gov/bill/1 1 8th-congress/house-
resolution/863/text#:~:text=Mayorkas%20willfully%20and%20systemically%20refused.people%200f%20th
e%20United%20States

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election integrity, yet hundreds of thousands (possibly millions) of non-citizens have been

registered to vote in the upcoming elections.

Count 1: Claim to Compel
Deprivation of Civil Rights
All Defendants

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137. Plaintiff repeats and incorporates by reference {{j 10 to 16 above in this Complaint,
and incorporates them herein by reference. Specific portions are referenced below.

138. When Non-Citizens are added to the voter rolls the Plaintiff is deprived of rights
since the number of registered voters impact recall efforts.

139. When Non-Citizens vote the Plaintiff is deprived of voting rights

140. The National Voter Registration Act (“NVRA”) (52 U.S.C. § 20507(a)(4)) requires,
“each State shall . . . conduct a general program that makes a reasonable effort to remove
the names of ineligible voters from the official lists of eligible voters by reason of (A) the
death of the registrant; or (B) a change in the residence of the registrant[.]”

141. Defendant Byrd, in his capacity as Florida’s Secretary of State, along with Defendant
Mathews (Director of Florida Elections) and Defendant Link (Palm Beach County
Supervisor of Elections), have failed to make reasonable efforts to conduct voter list
maintenance as required by the NVRA by failing to remove the names of non-citizen voters
or synthetic voters.

142. Plaintiff has been injured by this as a past Palm Beach County candidate and will
suffer again as a current candidate. He faces irreparable injuries (i.e., losing an election
unfairly and also having the federal races unfairly decided, harming him as a citizen) as a
direct result of the those Defendants’ failures to maintain accurate voter rolls that properly

reflect the names of eligible voters. Plaintiffs legitimate vote as a citizen will be diluted by
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any ineligible voters casting a ballots. Inaccurate voter registration rolls undermine
Plaintiffs’ confidence in Florida’s electoral system. Plaintiff is also a candidate in Palm

Beach County in this election cycle and risks losing that election unfairly.

143. Plaintiff is also harmed as he is required to divert resources to address issues caused
by the Defendants’ failure to maintain Florida voter rolls in compliance with state
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and federal law.

144. Defendants Mayorkas and O’Malley also as alleged herein provide asylum-seeking
illegal alien parolees with SSN’s knowing that states such as Florida, use those SSN’s as a
means of attempting to verify United States citizenship and defendants Mayorkas and
O’Malley fail to provide to Florida any information or means by which the states,
including Florida may determine which SSN’s (or the last four digits of the SSN’s) belong
to Unites States citizens and which belong to asylum-seeking illegal alien parolees or other

persons not eligible to vote in Federal or Florida elections.

145. Defendants Mayorkas and O’Malley also as alleged herein provide asylum-seeking
illegal alien parolees with ARN’s knowing that the asylum-seeking illegal alien parolees or
others using the ARN’s will illegally use the last four digits of the ARN’s on applications
as the Jast four digits as falsely stated las four SSN’s to illegally register to vote. These
defendants Mayorkas and O’Malley know that states such as Florida, allow either
intentionally or negligently use those last four ARN numbers as a means of attempting to
verify Unites States citizenship and defendants Mayorkas and O’Malley fail to provide to
states such as Florida any information or means by which the states, including Florida may
determine which last four digits belong to ARN’s and which are valid last four of SSN’s

belonging to Unites States citizens and which belong to asylum-seeking illegal alien
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146. Plaintiff will continue to be injured by the Defendants’ (Id.) violation of the NVRA
until they are enjoined from violating the law and are required to identify and remove the
names of ineligible voters from the rolls.

147. Plaintiff has no adequate remedy at law beyond the judicial relief sought here

pursuant to the NVRA.

Count 2: Conspiracy
(Common Law- Conspiracy)

148. Plaintiff repeats and incorporates by reference J 86-93, 109-110 above in this

Complaint. Specific portions are referenced below.

Conspiracy is Common Law

149. Conspiracy is common law and Florida statute (detailed below).

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150. Various federal criminal laws against conspiracy apply here as well. Although they
are criminal code, the common law conspiracy tort applies if Defendants conspired to violate

these criminal laws. For examples:

Conspiracy to Violate U.S. Code § 611 - Voting by aliens

151. The “Voting by aliens” law states:

U.S. Code § 611 - Voting by aliens

(a) It shall be unlawful for any alien to vote in any election held
solely or in part for the purpose of electing a candidate for the office
of President, Vice President, Presidential elector, Member of
the Senate, Member of the House of Representatives, Delegate from
the District of Columbia, or Resident Commissioner, unless—

(b) Any person who violates this section shall be fined under this
title, imprisoned not more than one year, or both.

152. Defendants Mayorkas, O’Malley, and Mia Familia Vota have been part of recent
proven examples of illegal aliens registering to vote in Florida (see {| bbbb). They have
conspired with the illegal aliens violating this law.

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153. Defendants Link, Weiss an Marino have conspired to conceal public records
by altering critical Public Records Reports related to Blank Ballots. Plaintiff repeats
and incorporates by reference (see {]86-93). In fact, the canvassing board ceased
reporting blank ballots in the 2024 primary. Concealing the detail of blank ballots counted in an
election is official misconduct.

154. Defendants Byrd and Moody are conspiring to violate U.S. Code § 611 by refusing
to enforce the law. They have been contacted many times by Plaintiff and have taken no

Action. Plaintiff repeats and incorporates by reference (114-117).

Conspiracy to Violate 18 U.S. Code § 241 - Conspiracy Against Rights:

155. This law prohibits conspiracies to injure, oppress, threaten, or intimidate any person
in the free exercise or enjoyment of any right or privilege secured by the Constitution or
laws of the United States.

156. The plaintiff repeats and incorporates by reference {{ 100-104 Defendants, Byrd,
Matthews, Marino, Weiss, Link, and are conspiring to violate this law by reporting
blank ballots as something other than blank ballot to masquerade implausible statistics
reported after the 2020 and 2022 General Elections where over one million were declared to
have chst as blank. Another words, state election reports have shown almost 1 million

Floridians submitted a blank ballot. This is implausible.

Conspiracy to Violate 18 U.S. Code § 242 - Deprivation of Rights:

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157. This law makes it a crime for someone acting under color of law, as Defendants are
doing here, to willfully deprive a person of a right or privilege protected by the Constitution

ot laws of the United States.

Conspiracy to Violate 18 U.S. Code § 1015 - Naturalization, Citizenship

158. ‘This law makes it a crime for a person to knowingly makes any false statement or
claim that they are a citizen of the United States in order to register to vote.

159. Defendants Mayorkas and O’Malley are conspiring with non-citizens to violate this
law by knowingly issuing SSN’s or ARN’s to illegal aliens §{ 10-16, 36-53).

Conspiracy to Violate Florida Law

160. Defendants also conspired to violate Florida laws.

“Title IX ELECTORS AND ELECTIONS

\ Chapter 97 QUALIFICATION AND REGISTRATION OF
ELECTORS
97.041 Qualifications to register or vote—
(1)(a) A person may become a registered voter only if that person:
2. Isacitizen of the United States;
3. Isa legal resident of the State of Florida;
4. Isa legal resident of the county in which that person seeks to be
registered; and
5. Registers pursuant to the Florida Election Code.”

161. Defendants conspired with illegal aliens to register and vote, thereby conspiring to
violate, Florida Statute 97.041, Section (1) (a) organizing elaborate scheme to register illegal
aliens into the voting system.

162. Defendants Mayorkas, O’Malley, and Mia Familia Vota have been part of recent
proven examples of illegal aliens registering to vote in Florida. They have conspired with
the illegal aliens violating this law.

163. Defendants Byrd and Moody are conspiring to violate U.S. Code § 611 by refusing

to enforce the law. They have been contacted many times by Plaintiff and have taken no

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action.

The Elements of Conspiracy in Florida Law

164. In Florida, a civil conspiracy involves several key elements (Walters v. Blankenship,

931 So. 2d 137 (Fla. Dist. Ct. App. 2006):

1, A conspiracy between two or more parties.

2. The intention to carry out an unlawful act or to achieve a
lawful act through unlawful means.

3, The commission of overt acts in furtherance of the
conspiracy.

4, Damage to the plaintiff resulting from the conspiracy

165. As detailed in this Count section, two or more defendants have conspired to illegally
register non-citizens to vote. They did so in overt acts that have damaged Plaintiff by hurting
his chances to win as a candidate. Also, as a citizen, his civil rights are violated when corrupt
people win elections.

166. "Rach co-conspirator need not commit acts in furtherance of the conspiracy; it is
enough if they are aware of the scheme and assist in some manner (Charles y, FI.
Foreclosure, 988 So. 2d 1157 (Fla. Dist. Ct. App. 2008). In this case, all Defendants are

well aware of the election fraud detailed above.

Damage to Plaintiff as the Result of Conspiracy

167. Plaintiff has suffered irreparable injuries as a direct result of the Defendants’
conspigacy. Plaintiffs’ legitimate votes risk dilution any time an ineligible voter casts a ballot
and inaccurate voter registration rolls undermine Plaintiffs’ confidence in Florida’s electoral

system. Plaintiff is also a candidate in Palm Beach County in this election cycle and risks

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losing that election unfairly.

168. Plaintiff is also harmed as he is required to divert resources to address issues caused
by the Defendants’ conspiracy. Plaintiff will continue to be injured by the Defendants’
conspiracy until they are enjoined from violating the law and are required to identify and
remove the names of ineligible voters from the rolls.

169. ‘Plaintiff has no adequate remedy at law beyond the judicial relief sought here.

170. Plaintiff has suffered irreparable injuries as a direct result of the Defendants’
conspiracy. Plaintiffs’ legitimate votes risk dilution any time an ineligible voter casts a ballot
and inaccurate voter registration rolls undermine Plaintiffs’ confidence in Florida’s electoral
system. Plaintiff is also a candidate in Palm Beach County in this election cycle and risks
losing that election unfairly.

171. 4Plaintiffis also harmed as he is required to divert resources to address issues caused
by the Defendants’ conspiracy. Plaintiff will continue to be injured by the Defendants’
conspiracy until they are enjoined from violating the law and are required to identify and
remove the names of ineligible voters from the rolls.

172. Plaintiff has no adequate remedy at law beyond the judicial relief sought here.

Count 3: Negligence
Defendants Byrd, Matthews, Moody

(Common Law)

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173. Plaintiff restates (] 113 to 117, 72-86 above in this Complaint, and incorporates

them herein by reference. Specific portions are referenced below.

174. Defendants Byrd, Matthew and Moody owe a legal duty to enforce the Memo of
Understanding signed by Defendant Matthews, countersigned by the Department of

Homeland Security.

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175. Defendant Moody, Byrd, Matthews and Link are negligent for failing to action to
prevent the election night reporting outage, which has become the standard and not the

norm.

176. Defendant Moody as State Attorney General has a duty to enforce laws in Florida.

The Elements of Negligence

177. Per Florida case law, a claim for negligence requires (1) a legal duty owed by the
defendant to the plaintiff, (2) breach of that duty by the defendant, (3) injury to the plaintiff

which was legally caused by defendant’s breach, and (4) damages as a result of that

injury.

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178. InLimones v. School Dist. of Lee County, 161 So. 3d 384 — Fla: Supreme Court 2015,
“Florida law recognizes the following four sources of duty: (1) statutes or regulations; (2)
common law interpretations of those statutes or regulations; (3) other sources in the common
law; and (4) the general facts of the case. Id. at 503 n. 2. As in this case, when the source of
the duty falls within the first three sources, the factual inquiry necessary to establish a duty

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is limited. The court must simply determine whether a statute, regulation, or the common

‘law imposes a duty of care upon the defendant. The judicial determination of the existence

of a duty is a minimal threshold that merely opens the courthouse doors. Id. at 502. Once a
court has concluded that a duty exists, Florida law neither requires nor allows the court to
further expand its consideration into how a reasonably prudent person would or should act
under the circumstances as a matter of law.”

179. in this instant case, Plaintiff has detailed the federal statutes and common law that
impose a duty by Defendants to Plaintiff. 18 U.S. Code §1015 requires Defendants to
prevent non-citizens from registering to vote, but they have not prevented non-citizens from
registering. Common law prohibits civil conspiracy by Defendants and yet they have
conspired. In Counts 1 through 3, it is detailed how Defendants were negligent in their duties
by violating these laws.

Damages to Plaintiff as a Result of Negligence

180. "Plaintiff has suffered irreparable injuries as a direct result of the Defendants’
negligence. Plaintiffs’ legitimate votes risk dilution any time an ineligible voter casts a ballot
and inaccurate voter registration rolls undermine Plaintiffs’ confidence in Florida’s electoral
system. Plaintiff is also a candidate in Palm Beach County in this election cycle and risks
losing that election unfairly.

181.  Plaintiffis also harmed as he is required to divert resources to address issues caused

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by the Defendants’ negligence. Plaintiff will continue to be injured by the Defendants’
negligence until they are enjoined from violating the law and are required to identify and
remove the names of ineligible voters from the rolls.

182. Plaintiff has no adequate remedy at law beyond the judicial relief sought here.

Count 4: Violation of the First Amendment

Defendants Link, Marino, Weiss and Bradshaw
(42 U.S.C. § 1983 (2021)- Civil action for deprivation of rights)

183. Plaintiff restates and incorporates by reference J§ 95 to 99, 104 above in this
Complaint, and incorporates them herein by reference. Specific portions are referenced

below.

184. The First Amendment of the United States Constitution states:
Congress shall make no law respecting an
establishment of religion, or prohibiting the free
exercise thereof; or abridging the freedom of speech,
or of the press; or the right of the people peaceably
to assemble, and to petition the Government for a
redress of grievances.

185. The Palm Beach County Defendants (Link, Weiss, Former Defendant Bristow, and
any other in attendance at the Canvassing Board meetings), along with Defendant
Bradshaw who oversees all employees of the Palm Beach County Sheriff, directly and
through conspiracy, have repeatedly retaliated against Plaintiff and other citizens attending
the Canvassing Board meetings. By cutting off mics and having sheriff escort people out of

the public meetings, Defendants are stifling free speech and the right to petition.

186. Defendants’ behavior has been recorded on video and is egregious.

187. Defendant Link has blocked Plaintiffs’ access to her official government X account.

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188. The prevailing legal standard is that when government officials use social media
accounts to conduct official business, those accounts are considered public forums. In these
public forums, officials cannot block individuals based on their viewpoints without violating

the First Amendment. However, personal accounts that are not used primarily for official
business may not be subject to the same rules.”

189. Moreover, canvassing boards across the nation have engaged in similar efforts to
conceal their corruption and conspiracies. In November, the vote counting process should

be complete transparent and abide by the First Amendment.

2 Supporting case law Campbell v. Reisch, Missouri. Robinson v. Hunt County, Texas. Knight First

Amendment v. Trump U.S. Court of Appeals for the Second Circuit.
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WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in his favor

and against Defendants that provides the following relief:

1) A judgment compelling defendants Mayorkas and O’Malley to provide Florida with

verification that the Social Security Numbers of applicants for the registration to vote in

Florida are Social Security Numbers of United States citizens; An injunction requiring
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Defendants to fully comply with any existing procedures that Florida has in place to

ensure ineligible voters are identified and removed from the rolls;

2) A judgment compelling defendants Mayorkas and O’Malley to inform Florida when any
application for voter registration is made with a Social Security Numbers that does not
belong to a United States citizens;

3) A judgment compelling defendants Mayorkas and O’ Malley to inform Florida when any

application for voter registration is made with an Alien Registration Numbers and/or the

last four numbers of an Alien Registration Number;

4) A judgment compelling all defendants to immediately cease and desist from registering

any person to vote who is not a United States citizen;

5) A judgment requiring Defendants to fully comply with any existing procedures that

Florida has in place to ensure ineligible voters are identified and removed from the rolls;

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6) An injunction requiring the Florida Defendants to use the same process used in jury

selection to be used to verify citizenship of any person registering to vote;

7) An injunction requiring Defendants to use Federal statute that allows the Florida

Supervisor of Elections (“SOE”) (i.e., Defendant Sartory in this case) to request the DHS

to verify citizenship and identifies.

8) An injunction requiring a registered voter to produce a photo ID when requesting a Vote

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by Mail ballot. Applicants can easily upload an ID photo. This to prevent synthetic ID’s
from obtaining a ballot.

9) An injunction prohibiting and Defendant from violating Plaintiff's First Amendment
rights by, including but not limited to, using police force to threaten the arrest of citizens at
public meetings and/or stifle free speech at public meetings.

10) f Defendants violate this injunction, they will be fined $10,000 for each violation,
payable by each individual defendant committing the violations of this injunction, to be paid
by the individual and not the County, State, or Federal agency for which they work;

11) Plaintiffs’ reasonable costs and expenses of this action, including attorneys’ fees;
and;

12) All other further relief to which Plaintiff may be entitled.

Respeatfully submitted this 3""4 day of September, 2024.

Boynton Beach, FL 33426
Jeff@etektraining.com

